 ta                Case: 1:24-cv-02191 Document #: 5 Filed: 04/17/24 Page 1 of 5 PageID #:99



                                                                    RETURN OF SERVICE

          Service of the Summons and complaint was made by me(')
                                                                                           DATE tI. I L #J TJ
\AME OF SERVER (PRINT)                                                                     rIrLE
                                                                                                                        lp' I n 'neth ll|
   Check one box below to indicate appropriate method of service
                                                                                                                       THOMASU UKUION
         tr Served personally upon the defendant. Place where served:                                           EI FRI(, U S. DISTRICTCOURT




         tr Left copies thereofat the defendant's dwelling house or usual place ofabode with a person ofsuitable age and
              discretion then residing therein.

              Name of person with whom the summons and complaint were left:

          E Returned unexecuted:




              Other (specify):




                                                               STATEMENT OF SERVICE FEES
TRAVEL                                                  SERVICES                                              TOTAL



                                                                 DECLARATION OF SERVER

                   I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return ofService and Statement ofService Fees is true and correct.



          Executed on
                                                                   Signature
                                                                                             Rufi€rM Co. ShoiffsDept
                                                                                               940Ncw Salem tlwy.
                                                                                              Murfrecsboro, TN 32129

                                                                   Address of Ser-ver




( I ) As to who may serve a summons   see Rule 4 of the Federal Rules of Civil Procedure
Case: 1:24-cv-02191 Document #: 5 Filed: 04/17/24 Page 2 of 5 PageID #:100
1-5r[, t16
                  Case: 1:24-cv-02191 Document #: 5 Filed: 04/17/24 Page 3 of 5 PageID #:101


 AO 440 (Rev. 05/00) Summons in a Civil Action



                                        UNnro Srarps Drsrrucr CoURT
                                                       NORTHERN DISTPJCT OF ILLINOIS
                                                                                                                     $
                                                                              SUMMONS IN A CIVL CASE
 Arete Wealth, Inc.


                                                                    CespNttmeR:             24-cv-2191

                                 V.                                 AssrcNpo Juucs:
                                                                                            Judge Sharon Johnson Colemq
 Jack R. Thacker                                                    DESIGNATED
                                                                    MAGISTRATS JupCg:       Judge Jeffrey Cole


                     TO: (Nu,"" and address of Defendant)

         Jack R. Thacker
         4332Pretoria Run
         Murfreesboro, TN 37128



           YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name and address)

                  Brian Prendergast
                  Croke, Fairchild, Duarte & Beres
                  191 N. Wacker Dr., 31st Floor
                  Chicago,IL 60606



                                                                                       2t
 an answor to the complaint which is herewith served upon you,                                days after service of this
 sunmons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
 the relief clemanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
 period of time after service.




                                      Jl 00uu)
       THOMAS G. BRUTON, CLERK


          WntdL{,rt"J                                                                         April 1,2024

       (By) DEPUTY CLERK                                                                      DATE
Case: 1:24-cv-02191 Document #: 5 Filed: 04/17/24 Page 4 of 5 PageID #:102

                                                                                 F
                                                                             B.oB
                                                                             E AA




          ?
                                                                             E[c;L
                                                                             fl rfl
                                                                             fflp =
                                                                             Egtr
                                                                             EF$ =
                                                                                      i
                                                                                      =r
                                                                                      =a-
                                                                                      =

                          O(v
                                                                                      =
                                                                                      =
                                                                                      =


                        75 E                                                          =_
                                                                                      -=




                        8?
                        -6K a
                           FE
                           Er
                           b5
                            ,\)



                            ?b+
Case: 1:24-cv-02191 Document #: 5 Filed: 04/17/24 Page 5 of 5 PageID #:103




                                                    e



                                                                                  ?do
                                                                                  !
                                                              ,C

                                                                                  i*:
                                                         'l


                                                              I               {
                                                                              t],"
                                                                   I
                                                     , -a
                                            q                                     d
                                                                              +
                                                                              i
                            ".1

                              i"                     i
                                                     i
                                                                         ae

                            Oqr- r              t                       .
                        I
                                                    G't
                                  -,

                                                              ,
                                            J
                                                                                  a
                                             d'
                                              rt

                                                    .i,,0,,
                                                ;
                                             art
                    i
                        tpi.:
                                            r
                                                                        N


                    .!r                                                -t,
                    Q. .a                   a
                                            a                          ar/            .
                                       *B
